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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 AMERICAN ACADEMY OF PEDIATRICS, et
 al.,

                Plaintiffs,
                                                      Case No. 1:25-cv-11916
                vs.                                   District Judge: Hon. William G. Young
                                                      Magistrate Judge: Hon. M. Page Kelley
 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of the Department of Health
 and Human Services, et al.,

                Defendants.


    PLAINTIFFS’ UNOPPOSED MOTION TO WITHDRAW THEIR MOTION FOR
        PRELIMINARY INJUNCTION AND DECLARATORY RELIEF AND
                REQUEST FOR EXPEDITED CONSIDERATION

       Plaintiffs respectfully request to withdraw, in their entirety, from the docket in the above-

captioned matter, Plaintiffs’ Motion for Preliminary Injunction and Declaratory Relief and Request

for Expedited Consideration (“Plaintiffs’ Motion”) [Dkt. #15] and Plaintiffs’ Memorandum of

Law in Support of Plaintiffs’ Motion [Dkt. #16]. Plaintiffs’ counsel reached out to counsel for

Defendants pursuant to Local Rule 7.1 on July 8, 2025 regarding this request to withdraw and

conferred with Defendants on July 9, 2025. Defendants do not oppose this Motion. Plaintiffs

intend to refile Plaintiffs’ Motion in compliance with the Local Rules.


Dated: July 9, 2025                              Respectfully submitted,


                                                 By: /s/ Elizabeth J. McEvoy
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                         Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to all counsel of record on this 9th day of July, 2025.


                                                      /s/ Elizabeth J. McEvoy



                              LOCAL RULE 7.1 CERTIFICATE

        I hereby certify that I conferred with counsel for the Defendants concerning this motion

 by email, on July 8, 2025, and, by videoconference, on July 9, 2025. Defendants do not oppose

 this motion.



                                                     /s/ Elizabeth J. McEvoy
